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                              IN THE UNITED STATES BANKRUPTCY
                              COURT FOR THE SOUTHERN DISTRICT
                                  OF TEXAS HOUSTON DIVISION

           In re:                                                  §
                                                                   §
           Watson Valve Services, Inc.                             §                  Case No. 20-30968
                                                                   §
                    Debtor.                                        §                      Chapter 11


                  SECOND MONTHLY FEE STATEMENT OF MACCO
             RESTRUCTURING GROUP, LLC, AS FINANCIAL ADVISORS FOR
             DEBTOR AND DEBTOR IN POSSESSION, FOR ALLOWANCE OF
            COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE
                            MONTH OF APRIL 2020




    Name of Applicant:                                                  MACCO Restructuring Group, LLC

    Date of Retention 1:                                                                          April 9, 2020

    Period for which Fees and Expenses are Incurred:                                  April 1 – April 30, 2020

    Interim Fees Incurred:                                                                         $ 22,605.00

    Interment Payment of Fees Requested (80%):                                                     $ 18,084.00

    Interim Expenses Incurred:                                                                          $    0.00

    Total Fees and Expenses Due: 2                                                                 $ 18,084.00


          This is the Second Monthly Fee Statement.


1
  Ordered authorizing application to employ was amended and entered on April 10, 2020 [Docket No. 137].
Applicant was retained as of February 25, 2020.
2
  Pursuant to this Court’s Order pursuant to 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for Interim
Compensation and Reimbursement of Expenses of Professionals [Docket No. 120], if no objection to the fees or
expenses sought in the Monthly Statement is received by the expiration of the objection deadline, the Debtor is
authorized to promptly pay 80% of the fees and 100% of the expenses identified in the Monthly Statement. Parties
have fourteen days to object.


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       MACCO Restructuring Group, LLC (“MACCO”), as Financial Advisors for Debtor and

Debtor in Possession of Watson Valve Services, Inc. (“Debtor”) submits this Second Monthly Fee

Statement (“Fee Statement”) for the period from April 1, 2020 through April 30, 2020

(“Application Period”) in accordance with the Order Pursuant to 11 U.S.C. §§ 105(a) and 331

Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals [Dkt. No. 120] (“Interim Compensation Order”).

       MACCO requests compensation for professional services rendered in the amount of

$22,605.00 (“Fees”), and for reimbursement of out-of-pocket expenses incurred in the amount of

$0.00 (“Expenses”), for the period from April 1, 2020 through April 30, 2020. Eighty percent (80%)

of the fees equals $18,084.00 and one hundred percent (100%) of the Expenses equals $0.00 for a

total requested amount of $18,084.00.         A summary of the time expended by MACCO

professionals, together with their respective hourly rates is attached as Exhibit A. A summary of

the fees by project category are attached as Exhibit B. A summary of expenses is attached as

Exhibit C. The invoice for fees and expenses incurred during the Application Period is attached

as Exhibit D.


                                             NOTICE

       Pursuant to the Order Establish Interim Professional Compensation Procedures [Bk. Dkt.

No. 120], notice of this Fee Statement will be provided to (i) the Office of the United States Trustee

for the Southern District of Texas; (ii) Husch Blackwell as counsel for Texas Capital Bank, the

secured lender; and (iii) counsel for the January 24 Claimants Committee in the Watson Grinding

& Manufacturing Co. bankruptcy case, Case No. 20-30967, pending before this Court.




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                                                PRAYER

        WHEREFORE, MACCO respectfully requests payment and reimbursement in accordance

with the procedures set forth in the Interim Compensation Order (i.e., payment of compensation

for professional services rendered) as follows:

                                  Fees (80%)                              $    18,084.00
                                  Expenses (100%)                              $    0.00
                                  Total Interim Request                 $     $18,084.00

        The Debtor respectfully requests that this Court grant the relief requested to use cash

collateral on an interim basis and for such other and further relief to which it is entitled.

                 Dated: May 12, 2020

                                        Respectfully submitted,
                                        MACCO Restructuring Group, LLC


                                        By: /s/ Drew McManigle
                                        The Pennzoil Building
                                        700 Milam Street, Suite 1300
                                        Houston, Texas 77002
                                        Telephone: (410) 350-1839
                                        Email: drew@maccorestructuringgroup.com



MCDOWELL HETHERINGTON LLP
Jarrod B. Martin
Texas Bar No. 24070221
Kate H. Easterling
Texas Bar No. 24053257
Avi Moshenberg
Texas Bar No. 24083532
1001 Fannin Street, Suite 2700
Houston, TX 77002
P: 713-337-5580
F: 713-337-8850
E: Jarrod.Martin@mhllp.com
E: Kate.Easterling@mhllp.com
E: Avi.Moshenberg@mhllp.com

Counsel for Watson Valve Services, Inc.

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                            CERTIFICATE OF SERVICE

       The undersigned certifies that on May 12, 2020, a true and correct copy of the

foregoing Fee Statement was served electronically on all parties registered to receive

electronic notice of filings in this case via this Court’s ECF notification system, and via

email on the following parties:

 Counsel for the US Trustee                     Stephen.Statham@usdoj.gov
 Stephen Statham

 Counsel for the Secured Lender                 tim.million@huschblackwell.com
 Tim Million

 Counsel for the January 24 Claimants           JWolfshohl@porterhedges.com
 Committee
 Josh Wolfshohl


                                          /s/ Drew McManigle
                                          Drew McManigle




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                  EXHIBIT A – TIMEKEEPER ANALYSIS

                  NAME               HOURS    HOURLY      TOTAL
                                                RATE
Drew McManigle                         4.20    $550.00      $2,310.00
Paul Maniscalco                        1.00     $550.00      $550.00
Kathy Mayle                            4.80     $400.00     $1,920.00
Pablo Bonjour                          1.40     $400.00      $560.00
Frank Cottrell                        26.10     $400.00    $10,440.00
Micah Miller                          18.50     $350.00     $6,475.00
Eric Moll                              2.00     $175.00      $350.00
Totals:                               58.00                $22,605.00




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                        EXHIBIT B
               FEES BY PROJECT CATEGORY




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                                                  MACCO Restructuring Group
                                                              ACTIVITY BY PROJECT

FILTERS USED :                                                                                           EXHIBIT B
Project In : Watson Valve - Chapter 11
and Time Entry Date In : 4/1/2020 To 4/30/2020

PROJECT: Watson Valve - Chapter 11                                                                                     Drill Down Enabled
 ACTIVITY            DESCRIPTION                          EMPLOYEE                                            HOURS              AMOUNT
 001:                 Client Meeting
                                                          Eric Moll                                             2.00             $350.00
                                                          Frank Cottrell                                        1.40             $560.00
                                                          Pablo Bonjour                                         0.20              $80.00
                                                                                          001: TOTAL:           3.60             $990.00
 002:                 Attorney Meeting
                                                          Frank Cottrell                                        5.30           $2,120.00
                      Response to financial information
 002:
                      request.
                                                          Frank Cottrell                                        0.60            $240.00
                                                                                          002: TOTAL:           5.90           $2,360.00
 005:                 Attorney Communication
                                                          Drew McManigle                                        2.50           $1,375.00
                                                          Pablo Bonjour                                         1.20            $480.00
                                                                                          005: TOTAL:           3.70           $1,855.00
 007:                 Internal Communication
                                                          Drew McManigle                                        0.60             $330.00
                                                          Micah Miller                                          0.30             $105.00
                                                                                          007: TOTAL:           0.90             $435.00
 009:                 Operations
                                                          Drew McManigle                                        0.30            $165.00
                                                          Frank Cottrell                                        2.10            $840.00
                                                                                          009: TOTAL:           2.40           $1,005.00
 010:                 Accounting and Financials
                                                          Frank Cottrell                                       16.70           $6,680.00
                                                          Kathy Mayle                                           0.20              $80.00
                                                                                          010: TOTAL:          16.90           $6,760.00
 016:                 Case Administration
                                                          Drew McManigle                                        0.40             $220.00
                                                          Kathy Mayle                                           1.70             $680.00
                                                          Micah Miller                                         12.60           $4,410.00
                                                          Paul Maniscalco                                       1.00             $550.00
                                                                                          016: TOTAL:          15.70           $5,860.00
                      Employment/Fee
 018:
                      Applications/Objections
                                                          Drew McManigle                                        0.40             $220.00
                                                          Kathy Mayle                                           1.70             $680.00
                                                                                          018: TOTAL:           2.10             $900.00
                      Preparation of Schedules and
 023:
                      Statements
                                                          Kathy Mayle                                           1.20            $480.00
                                                          Micah Miller                                          5.60           $1,960.00
                                                                                           023: TOTAL:          6.80           $2,440.00
                                                                      Watson Valve - Chapter 11 TOTAL:         56.00          $22,255.00

                                                                                      GRAND TOTAL:             58.00          $22,605.00




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                    EXHIBIT C – Summary of Expenses


EXPENSES $0.00




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                    EXHIBIT D – INVOICE




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                          MACCO Restructuring Group
                          Pennzoil Place 700 Milam Street, Suite 1300
                          Houston, TX 77002
                          Tel: 410-350-1839
                          admin@maccocrestructuringgroup.com
                                                                                                 EXHIBIT D
                          www.maccorestructuringgroup.com




                                                                                                         INVOICE
            Bob White                                                                                    INVOICE DATE: 4/30/2020
            Watson Valve Services, Inc.                                                                  INVOICE NO: 1075
            4525 Gessner Road                                                                            BILLING THROUGH: 4/30/2020
            Houston, TX 77041

Watson Valve - Chapter 11                                                                                          Managed By: Drew McManigle

PROFESSIONAL SERVICES

DATE                EMPLOYEE                        DESCRIPTION                                 HOURS                  RATE           AMOUNT

001:                Client Meeting
2/26/2020           Eric Moll                       Initial meeting with Watson Grinding          2.00               $175.00           $350.00
                                                    Executives and counsel, followed by
                                                    MACCO team meeting for post-meeting
                                                    discussion.
4/1/2020            Frank Cottrell                  Wind Down Planning Discussion.                1.40               $400.00           $560.00
4/29/2020           Pablo Bonjour                   Communication with J. Martin and F.           0.20               $400.00            $80.00
                                                    Cottrell regarding the liquidation
                                                    analysis for Watson Valve.
                                                              001: Client Meeting Totals:         3.60                                 $990.00

002:                Attorney Meeting
4/6/2020            Frank Cottrell                  Wind down and work in process                 0.60               $400.00           $240.00
                                                    discussion.
4/10/2020           Frank Cottrell                  Wind down and work in process                 0.80               $400.00           $320.00
                                                    discussion.
4/20/2020           Frank Cottrell                  Compiling of response to Charles Rubio,       1.00               $400.00           $400.00
                                                    personal lawyer to John Watson.
4/21/2020           Frank Cottrell                  Wind down and work in process                 1.40               $400.00           $560.00
                                                    discussion w/ Charles Rubio and Watson
                                                    Management.
4/23/2020           Frank Cottrell                  Wind down and work in process                 0.60               $400.00           $240.00
                                                    discussion.
4/28/2020           Frank Cottrell                  Going Concern analysis discussion based       0.90               $400.00           $360.00
                                                    on repair only. Drafting of info request.
4/29/2020           Frank Cottrell                  Going Concern analysis discussion based       0.60               $400.00           $240.00
                                                    on repair only. Drafting of info request.
                                                          002: Attorney Meeting Totals:           5.90                                $2,360.00

005:                Attorney Communication




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                          www.maccorestructuringgroup.com

4/20/2020           Drew McManigle                   From C. Rubio, Watson counsel               0.80   $550.00    $440.00
                                                     requesting information (.1); notes (.2)
                                                     and internal call with P. Bonjour and F.
                                                     Cottrell re: same and response (.3);
                                                     review same and conference call request
                                                     (.2).

4/21/2020           Drew McManigle                   With counsel to John Watson, MACCO          1.40   $550.00    $770.00
                                                     team and debtors counsel to review and
                                                     discuss Watson Valve viability ad related
                                                     (.8); post call review with MACCO team
                                                     (.3); and call with counsel re: DIP vs.
                                                     Watson individual issues (.3).


4/23/2020           Drew McManigle                   Re: Liquidation Analysis request and        0.30   $550.00    $165.00
                                                     related matters (.3); notes with MACCO
                                                     team re: same.

4/28/2020           Pablo Bonjour                    Call with Jarrod Martin regarding           1.20   $400.00    $480.00
                                                     Watson Valve analysis (.7);
                                                     communications with F. Cottrell
                                                     regarding checklist and updating
                                                     checklist (.5).
                                                    005: Attorney Communication Totals:          3.70             $1,855.00

007:                Internal Communication
4/9/2020            Drew McManigle                   With K. Mayle to review Order               0.60   $550.00    $330.00
                                                     appointing MACCO, noting changes and
                                                     language (.5); monitor notes related to
                                                     amendments(.1).

4/17/2020           Micah Miller                     Call with Paul Maniscalco to review         0.30   $350.00    $105.00
                                                     March 2020 MOR.
                                                    007: Internal Communication Totals:          0.90              $435.00

009:                Operations
4/9/2020            Drew McManigle                   Review update note from F. Cottrell and     0.30   $550.00    $165.00
                                                     respond to same re: new jobs.

4/9/2020            Frank Cottrell                   Wind Down Plan, WIP and Ariba review.       0.80   $400.00    $320.00
4/27/2020           Frank Cottrell                   Answer Matt Snow's and J. Martin's          1.30   $400.00    $520.00
                                                     questions re: budget and procedures.
                                                                   009: Operations Totals:       2.40             $1,005.00

010:                Accounting and Financials
4/2/2020            Frank Cottrell                   Update 13 Week Cash Flow Projections        1.50   $400.00    $600.00
                                                     for Actuals.
4/6/2020            Frank Cottrell                   Bank Account Reconciliation and Actuals     2.10   $400.00    $840.00
                                                     Update.
4/6/2020            Frank Cottrell                   Bank Account Reconciliation and Actuals     2.10   $400.00    $840.00
                                                     Update.




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                          www.maccorestructuringgroup.com

4/7/2020            Frank Cottrell                  Call w/ J. White and A. Contreras to         0.70   $400.00    $280.00
                                                    discuss new orders received to be
                                                    modeled into winddown forecast.
4/8/2020            Frank Cottrell                  Potential new orders analysis through        3.70   $400.00   $1,480.00
                                                    May.
4/9/2020            Kathy Mayle                     Emails with counsel and MACCO team           0.20   $400.00     $80.00
                                                    regarding reporting provided to UCC
                                                    counsel.
4/10/2020           Frank Cottrell                  Bank Account Reconciliation and Actuals      2.10   $400.00    $840.00
                                                    Update.
4/13/2020           Frank Cottrell                  WIP Discussion w/ J. White, Review of        2.10   $400.00    $840.00
                                                    Forecast from B. Sanchez, Creation of
                                                    New Forecast.
4/14/2020           Frank Cottrell                  Update 13 Week Cash Flow Projections         0.20   $400.00     $80.00
                                                    for Actuals.
4/15/2020           Frank Cottrell                  Update 13 Week Cash Flow Projections         1.00   $400.00    $400.00
                                                    for Actuals, including redline of
                                                    revisions.
4/22/2020           Frank Cottrell                  Update 13 Week Cash Flow Projections         0.70   $400.00    $280.00
                                                    for Actuals, including redline of
                                                    revisions.
4/22/2020           Frank Cottrell                  13 Week Cash Flow Projections                0.50   $400.00    $200.00
                                                    Discussion with Jason White.
                                               010: Accounting and Financials Totals:           16.90             $6,760.00

016:                Case Administration
4/1/2020            Kathy Mayle                     Review emails to B. Griffin regarding IDI    0.10   $400.00     $40.00
                                                    compliance.
4/6/2020            Kathy Mayle                     Telephone discussion with J. Martin and      0.20   $400.00     $80.00
                                                    M. Miller regarding amendments to
                                                    schedules.
4/7/2020            Micah Miller                    Amend February 2020 MOR.                     0.50   $350.00    $175.00
4/7/2020            Drew McManigle                  Internal emails re: case/ debtor updates     0.40   $550.00    $220.00
                                                    from K. Mayle, F. Cottrell and P.
                                                    Bonjour.
4/7/2020            Kathy Mayle                     Email with counsel regarding amended         0.40   $400.00    $160.00
                                                    schedules. Emails with MACCO team
                                                    regarding case status.
4/13/2020           Micah Miller                    March 2020 MOR.                              4.00   $350.00   $1,400.00
4/15/2020           Micah Miller                    March 2020 MOR.                              0.50   $350.00    $175.00
4/16/2020           Kathy Mayle                     Review revised March MOR and email           0.20   $400.00     $80.00
                                                    M. Miller regarding same.
4/16/2020           Kathy Mayle                     Review March MOR and email M. Miller         0.50   $400.00    $200.00
                                                    regarding changes to same., and email
                                                    same regarding payment of quarterly
                                                    fees.
4/17/2020           Paul Maniscalco                 Review Watson Valve 03/31/2020 MOR;          1.00   $550.00    $550.00
                                                    provided edits to Micah Miller.
4/20/2020           Micah Miller                    Prepare US Trustee Quarterly fee             0.30   $350.00    $105.00
                                                    statement.
4/25/2020           Micah Miller                    Prepare redline of Schedules A/B and F.      4.50   $350.00   $1,575.00




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                          Tel: 410-350-1839
                          admin@maccocrestructuringgroup.com
                          www.maccorestructuringgroup.com

4/25/2020           Kathy Mayle                     Emails with J. Martin and M. Miller         0.30   $400.00     $120.00
                                                    regarding Amended Schedules.
4/27/2020           Micah Miller                    Amend March 2020 MOR.                       0.80   $350.00     $280.00
4/29/2020           Micah Miller                    Preparation of redlined Creditor Matrix     2.00   $350.00     $700.00
                                                    and amended Creditor Matrix TXT file.
                                                        016: Case Administration Totals:       15.70              $5,860.00

018:                Employment/Fee Applications/Objections
4/9/2020            Kathy Mayle                     Emails with D. McManigle and counsel        0.50   $400.00     $200.00
                                                    regarding Amended Application to
                                                    Employ, and review same.
4/9/2020            Kathy Mayle                     Prepare Monthly Fee Statement and           0.80   $400.00     $320.00
                                                    email same to D. McManigle.
4/10/2020           Drew McManigle                  Note to/from counsel re: fee notice and     0.20   $550.00     $110.00
                                                    attention to related case/engagement
                                                    matters, and Amended Order appointing
                                                    MACCO.

4/13/2020           Kathy Mayle                     Revised Monthly Fee Statement, attach       0.30   $400.00     $120.00
                                                    exhibits to same, and email to J. Martin
                                                    for filing.
4/24/2020           Drew McManigle                  Notes with counsel and K. Mayle re:         0.20   $550.00     $110.00
                                                    filing 1st interim request.

4/25/2020           Kathy Mayle                     Email J. Martin regarding filing of         0.10   $400.00      $40.00
                                                    Monthly Fee Statement.
                         018: Employment/Fee Applications/Objections Totals:                    2.10               $900.00

023:                Preparation of Schedules and Statements
4/6/2020            Micah Miller                    Amend Schedule F - add litigation           2.50   $350.00     $875.00
                                                    claimants.
4/6/2020            Micah Miller                    Phone call with Jarrod Martin and Kathy     0.30   $350.00     $105.00
                                                    Mayle to discuss amending schedules
                                                    and statements.
4/6/2020            Kathy Mayle                     Review import for supplemental              0.30   $400.00     $120.00
                                                    schedules, and email to M. Miller
                                                    regarding same.
4/7/2020            Micah Miller                    Amend Schedule F - add creditors.           0.80   $350.00     $280.00
4/7/2020            Micah Miller                    Amend Schedule F - review litigation        1.00   $350.00     $350.00
                                                    claimants.
4/7/2020            Kathy Mayle                     Emails to/from M. Miller regarding          0.50   $400.00     $200.00
                                                    amended schedules, and review
                                                    amended schedules and 20 Largest.
4/17/2020           Micah Miller                    Amend Schedule F.                           0.50   $350.00     $175.00
4/26/2020           Kathy Mayle                     Review revised Amended Schedules as         0.40   $400.00     $160.00
                                                    redlined, and emails with M. Miller
                                                    regarding finalizing of same.
4/26/2020           Micah Miller                    Prepare redline of Schedules A/B and F.     0.50   $350.00     $175.00

                          023: Preparation of Schedules and Statements Totals:                  6.80              $2,440.00

                                                                TOTAL SERVICES RENDERED:       58.00             $22,605.00




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                          MACCO Restructuring Group
                          Pennzoil Place 700 Milam Street, Suite 1300
                          Houston, TX 77002
                          Tel: 410-350-1839
                          admin@maccocrestructuringgroup.com
                          www.maccorestructuringgroup.com


                                                                                                      SUBTOTAL             $22,605.00

                                                                                      AMOUNT DUE THIS INVOICE              $22,605.00


                                                                TIMEKEEPER SUMMARY
                   PROFESSIONAL                                             HOURS             RATE          AMOUNT
                   Drew McManigle                                              4.20         $550.00          $2,310.00
                   Eric Moll                                                   2.00         $175.00              $350.00
                   Frank Cottrell                                             26.10         $400.00         $10,440.00
                   Kathy Mayle                                                 4.80         $400.00          $1,920.00
                   Micah Miller                                               18.50         $350.00          $6,475.00
                   Pablo Bonjour                                               1.40         $400.00              $560.00
                   Paul Maniscalco                                             1.00         $550.00              $550.00




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